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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
                                                                       Order Filed on May 22, 2019 by
 Caption in Compliance with D.N.J. LBR 9004-1(b)                        Clerk U.S. Bankruptcy Court
                                                                           District of New Jersey
 LAW OFFICES OF KENNETH L. BAUM LLC
 167 Main Street
 Hackensack, New Jersey 07601
 (201) 853-3030
 (201) 584-0297 Facsimile
 Kenneth L. Baum, Esq.
 Attorneys for Debtors-in-Possession
 In re:                                                Case No. 19-17900 (SLM)
 EZ MAILING SERVICES, INC. d/b/a EZ
                                                       Chapter 11
 WORLDWIDE EXPRESS AND UNITED
 BUSINESS EXPRESS,
                         Debtor-in-Possession.

 In re:                                                Case No. 19-17906 (SLM)
 UNITED BUSINESS FREIGHT FORWARDERS,
                                                       Chapter 11
 LLC,
                         Debtor-in-Possession.         Hearing Date: May 21, 2019



   ORDER AUTHORIZING AND APPROVING (A) TERM SHEET BETWEEN THE
 DEBTORS AND QX LOGISTIX LLC, (B) APPROVING BIDDING PROCEDURES FOR
     THE SALE OF THE DEBTORS’ ASSETS RELATED TO THEIR VERNON,
 CALIFORNIA AND AMAZON OPERATIONS, AND (C) SCHEDULING FINAL SALE
                              HEARING

The relief set forth on the following pages, numbered two (2) through seven (7), is hereby
ORDERED.




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       THIS MATTER having been opened to the Court upon the joint motion (the “Motion”) 1

of EZ Mailing Services, Inc. d/b/a EZ Worldwide Express and United Business Express and United

Business Freight Forwarders, LLC, the above-referenced debtors-in-possession (together, the

“Debtors”), by and through their undersigned counsel, pursuant to Sections 105(a), 363, and 365

of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rules

2002, 6004, 6006, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Local Rules of the United States Bankruptcy Court for the District of New Jersey

(the “Local Rules”) 6004-1 and 6004-2, for: (a) entry of an order, inter alia, (i) approving that

certain term sheet between the Debtors and QX Logistix LLC (“QX Logistix”), (ii) approving

bidding procedures (the “Bidding Procedures”) in connection with the sale of the Debtors’ assets

related to their Vernon, California and Amazon operations (the “California Assets”), and (iii)

scheduling a final sale hearing (the “Sale Hearing”) to consider entry of an order approving the

sale of the California Assets (together, the “Interim Relief”); and (b) an order authorizing and

approving (i) the sale of the California Assets free and clear of liens, encumbrances, and other

interests (the “Sale”), (ii) the assumption and assignment of the Debtors’ lease of real property at

2050-2080 East 49th Street, Vernon, California (the “Vernon Lease”), to QX Logistix, and (iii)



       1
         Unless otherwise noted, the capitalized terms herein shall have the definitions ascribed
to them in the Motion.

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granting related relief; and upon consideration of the Motion and all pleadings related thereto; and

due and proper notice of the Motion having been given under the circumstances; and it appearing

that no other or further notice is required; and it appearing that the Court has jurisdiction to

consider the Motion and the Interim Relief sought therein in accordance with 28 U.S.C. §§ 157

and 1334; and it appearing that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N)

and (O); and it appearing that venue of these proceedings and the Motion is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and the Court finding that the Debtors have demonstrated a compelling

and sound business justification for the Bidding Procedures and for entering into the Term Sheet

with QX Logistix; and the Court finding that the Bidding Procedures substantially in the form set

forth in the Motion and restated herein are fair, reasonable and appropriate and designed to

maximize the recovery from the Sale; and the Court finding that the Bidding Procedures were

negotiated in good faith between the Debtors and QX Logistix; and it appearing that the relief

requested is in the best interest of the Debtors and their estates, and after due deliberation, and

sufficient cause appearing therefor, it is hereby

       ORDERED THAT:

       1.      The Interim Relief sought in the Motion is granted to the extent set forth herein.

All objections to the granting of the Interim Relief that have not been withdrawn, waived or




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settled as announced to the Court at the hearing on the Motion or by application filed with the

Court are hereby overruled.

        2.      The Bidding Procedures that shall govern all procedures and proceedings relating

to the Sale of the California Assets and the submission, consideration, negotiation and

acceptance of alternate sale proposals are as follows: any competitive bid must be in writing and

accompanied by the payment of a good-faith deposit of not less than $25,000, paid in

immediately available funds into escrow with the Debtors’ counsel, not less than two (2)

business days prior to the Sale Hearing. If QX Logistix is not the successful bidder for the

California Assets, QX Logistix will be reimbursed for the amount of the Hard Deposit by the

successful bidder for the California Assets. In the event of qualified competing bids for the

California Assets, the auction for the California Assets shall be conducted at the Sale Hearing.

        3.      The Sale Hearing shall be held on May 30, 2019, at 10:00 a.m., before the

Honorable Stacey L. Meisel, U.S.B.J., at the United States Bankruptcy Court, Courtroom 3A,

Martin Luther King, Jr. Federal Building, 50 Walnut Street, Newark, New Jersey 07102.

Responses or objections (“Sale Objections”), if any, to the relief considered at the Sale Hearing

must (i) be in writing, (ii) set forth with particularity the basis for the response or objection, (iii)

be filed with the Clerk of the Court (with a courtesy copy delivered directly to the Chambers of

the Honorable Stacey L. Meisel, U.S.B.J.) and (iv) be served on (a) the Law Offices of Kenneth



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L. Baum LLC, 167 Main Street, Hackensack, New Jersey 07601 (Attn: Kenneth L. Baum, Esq.),

attorneys for Debtors, (b) Stradley Ronon Stevens & Young, LLP, 100 Park Avenue, Suite 2000,

New York, New York 10017 (Attn: Scott H. Bernstein, Esq. ), attorneys for QX Logistix, and (c)

Office of the United States Trustee, 1 Newark Center, Newark, New Jersey 07102 (Attn:

Mitchell B. Hausman, Esq.) (collectively, the “Objection Notice Parties”), so as to be received

no later than 4:00 p.m. (New York City time) on May 28, 2019 (the “Objection Deadline”);

provided, however, that objections based on the Debtors’ recommendation of a successful bidder

at the auction or the conduct of the auction may be made at the Sale Hearing.

       4.      Upon entry of this Order, the Debtors’ counsel shall cause a copy of this Order to

be served upon all of the Debtors’ creditors, all parties that the Debtors and their professionals

have identified that are likely to have an interest in submitting competing bids, all parties that

have filed a notice of appearance or a request for notices pursuant to Bankruptcy Rule 2002, and

parties-in-interest by postage prepaid, preaddressed First Class mail. Under the circumstances,

the notice of the Sale Hearing and the Bidding Procedures are appropriate and reasonably

calculated to provide all interest parties with timely and appropriate notice of the Sale Hearing

and the Bidding Procedures, and no other or further notice of the Sale Hearing and the Bidding

Procedures is required.




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       5.      Within one (1) day after entry of this Order, the Debtors’ counsel shall serve on

the counterparty to the Vernon Lease (i) a written notice setting forth the proposed cure amount

in connection with the proposed assumption and assignment of the Debtors’ Vernon Lease to QX

Logistix and (ii) information relating to adequate assurance of future performance under the

Vernon Lease by QX Logistix, pursuant to Section 365(f)(2)(B) of the Bankruptcy Code.

Objections to the assumption and assignment of the Vernon Lease must be in writing and filed in

the Court and served upon the Objection Notice Parties by the Objection Deadline; provided,

however, that in the event the auction results in a successful bidder other than QX Logistix, the

deadline for filing and serving an objection (with a copy to chambers) to the assumption and

assignment of the Vernon Lease (with the exception of an objection to the proposed cure

amount) to such a successful bidder shall be on June 2, 2019, and the Court shall hold a hearing

as soon thereafter as its calendar will permit.

       6.      Unless an objection to the assumption and assignment of the Vernon Lease is

timely filed and served by the applicable objection deadline, all counterparties to the assumed

and assigned Vernon Lease shall (i) be forever barred from objecting to the proposed cure

amount and from asserting any additional cure or other amount with respect to the assumed and

assigned Vernon lease, and the Debtors and the successful bidder shall be entitled to rely solely

upon the proposed cure amount set forth in the cure notice; (ii) be deemed to have consented to



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the assumption and assignment; and (iii) be forever barred and estopped from asserting or

claiming against the Debtors or the successful bidder that any additional amounts are due and/or

other defaults exist, that conditions to assignment must be satisfied under the assumed and

assigned Vernon Lease or that any objection or defense to the assumption and assignment of

such Vernon Lease exists.

       7.      This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

       8.      Notwithstanding any Bankruptcy Rule or Local Bankruptcy Rule to the contrary,

this Order is effective and enforceable immediately upon signature hereof.

       9.      Notwithstanding any of the terms and conditions contained in the Term Sheet or

any provision in this Order, all rights and remedies of North Mill Capital LLC (“NMC”) under

any and all agreements with the Debtors, including but not limited to all rights and remedies

arising under that certain Accounts Receivable Agreement with Recourse dated December 30,

2016 (as amended and as may be further amended), are hereby preserved and shall not be

deemed to be modified, released, waived, or impaired in any way as a result of this Order.

Additionally, all rights of NMC with respect to the sale of the California Assets and the terms

and conditions to govern the same, including the terms and conditions of any agreement to be

executed in connection therewith, are hereby reserved in full.



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